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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                              FILED
                                                                                                              MAR 23 2016
                                      UNITED STATES DISTRICT COUR
                                                                                                         CLERK US DISTRICT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA                               SOUTHERN DISTRI   OF CALIFORNIA
                                                                                                      BY                      DEPUTY
              UNITED STATES OF AMERICA
                               V.                                  (For Offenses Committed On or After November 1, 1987)
          HAMLET ARZIS BARRERA-ALDAI (2)
                                                                      Case Number:         15CRJ021 MMA

                                                                   RICHARD J. BOESEN
                                                                   Defendant's Attorney
REGISTRATION NO.                51504298


THE DEFENDANT:
IZI pleadedguiltytocount(s)            ONE OF THE INFORMATION

       was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                    Count
Title & Section                     Nature of Offense                                                              Number(s)
21 USC 846 and 841(a)(l)            CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                             1




    The defendant is sentenced as provided in pages 2 through                4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                   is         dismissed on the motion of the United States.

       Assessment: $100.00
 IZI


 IZI   No fine                 0 Forfeiture pursuant to order filed                                           , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    HON. MICHAEL M. ANELLO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                 15CR3021 MMA
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DEFENDANT:                HAMLET ARZIS BARRERA-ALDAI (2)                                           Judgment - Page 2 of 4
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 FORTY-SIX (46) MONTHS




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZl   The court makes the following recommendations to the Bureau of Prisons:
              PLACEMENT IN THE WESTERN REGION OF THE UNITED STATES (CLOSE TO
              SAN DIEGO, CALIFORNIA).




       The defendant is remanded to the custody of the United States MarshaL

 D     The defendant shall surrender to the United States Marshal for this district:
            at _ _ _ _ _ _ _ _ A.M.                           on
       D    as notified by the United States Marshal.
                                                                   ---------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
        D    on or before
        D    as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

       Defendant delivered on   __________________________ to ______________________________

 at __________________ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                                UNITED STATES MARSHAL


                                                                                                       15CR3021 MMA
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    DEFENDANT:                   HAMLET ARZIS BARRERA-ALDAI (2)                                                              Judgment - Page 3 of 4
    CASE NUMBER:                 l5CRJ021 MMA

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm. ammunition, destructive device. or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons. or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted ofa qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted pennission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
         observed in plain view ofthe probation officer;
     11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
         with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION


     1. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
        illegally and report to the probation officer within 24 hours of any reentry to the United States; supervision
        waived upon deportation, exclusion, or voluntary departure.

II




                                                                                                    15CR3021 MMA
